      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA


NATIONAL RIFLE ASSOCIATION              )
OF AMERICA, INC.,                       )
11250 Waples Mill Road,                 )
Fairfax, VA 22030,                      )
                                        )
                   Plaintiff,           )
                                        )
       v.
                                        )
PAM BONDI, in her Official Capacity )
as Attorney General of Florida,         )
Office of Attorney General              ) Civil Action No. ___________
State of Florida                        )
The Capitol PL-01                       )
Tallahassee, FL 32399, and              )
                                        )
RICK SWEARINGEN, in his Official        )
Capacity as Commissioner of the Florida )
Department of Law Enforcement,          )
Florida Department of Law Enforcement )
2331 Phillips Road                      )
Tallahassee, FL 32308,                  )
                                        )
                   Defendants.          )



     COMPLAINT FOR DECLARATORY AND INJUNCTIVE

                                     RELIEF

      Plaintiff, the National Rifle Association of America, Inc., by and through the

undersigned attorneys, files this Complaint against the above-captioned

Defendants, in their official capacities as state officials responsible under Florida



                                         1
      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 2 of 13




law for administering and enforcing the State’s laws and regulations governing the

sale of firearms. Plaintiff seeks declaratory and injunctive relief: a declaration that

Florida’s law banning adult, law-abiding citizens under the age of 21 from

purchasing firearms of any kind is unconstitutional under the Second and

Fourteenth Amendments to the United States Constitution, and an injunction

compelling Defendants to refrain from enforcing that invalid ban and to allow

Plaintiff’s members to purchase firearms to defend themselves, their families, and

their homes. In support of its Complaint against Defendants, Plaintiff hereby

alleges as follows:

                               INTRODUCTION

      1.     The Second Amendment “guarantee[s] the individual right to possess

and carry” firearms, and “elevates above all other interests the right of law-abiding,

responsible citizens to use arms in defense of hearth and home.” District of

Columbia v. Heller, 554 U.S. 570, 635 (2008).

      2.     The State of Florida, however, has recently prohibited an entire class

of law-abiding, responsible citizens from fully exercising the right to keep and bear

arms—namely, adults who have reached the age of 18 but are not yet 21. Florida

flatly bans such persons from purchasing firearms, whether from federally licensed

firearms dealers or from any other source.




                                          2
     Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 3 of 13




      3.       At 18 years of age, law-abiding citizens in this country are considered

adults for almost all purposes and certainly for the purposes of the exercise of

fundamental constitutional rights. At 18, citizens are eligible to serve in the

military—to fight and die by arms for the country. Indeed, male citizens in this

age-group are designated members of the militia by federal statute, 10 U.S.C. §

246(a), and may be conscripted to bear arms on behalf of their country, 50 U.S.C.

§ 3803(a). Yet, newly-enacted Section 790.065(13) of Florida’s criminal code

prohibits law-abiding adults in this age group from lawfully purchasing a firearm

of any kind.

      4.       This blanket ban violates the fundamental rights of thousands of

responsible, law-abiding Florida citizens and is thus invalid under the Second and

Fourteenth Amendments.

                        JURISDICTION AND VENUE

      5.       This Court has subject-matter jurisdiction over Plaintiff’s claims

under 28 U.S.C. §§ 1331 and 1343.

      6.       Plaintiff seeks remedies under 28 U.S.C. §§ 1651, 2201, and 2202 and

42 U.S.C. §§ 1983 and 1988.

      7.       Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) & (b)(2).

                                     PARTIES




                                           3
      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 4 of 13




      8.     Plaintiff National Rifle Association of America, Inc. (“NRA”) is a

nonprofit association incorporated under the laws of New York. Founded in 1871,

the NRA is the oldest civil rights organization in America and the Nation’s

foremost defender of Second Amendment rights. Among other things, the NRA

promotes the safe and responsible purchase, possession, and use of firearms by

law-abiding adults for lawful purposes, such as self-defense, target practice,

marksmanship competition, and hunting. The NRA is the leading provider of

firearms marksmanship and safety training for civilians and law-enforcement

officers. The NRA has a membership of approximately five million persons, many

thousands of whom reside throughout the state of Florida. Its principal place of

business is 11250 Waples Mill Road, Fairfax, VA 22030.

      9.     Defendant Pam Bondi is the Attorney General of Florida. As Attorney

General, she is responsible for directing and supervising the prosecution of all

offenses against Florida’s criminal law, including the ban on purchasing firearms

at issue in this case. Her official address is Office of Attorney General, State of

Florida, The Capitol PL-01, Tallahassee, FL 32399. She is being sued in her

official capacity.

      10.    Defendant Rick Swearingen is the Commissioner and Executive

Director of the Florida Department of Law Enforcement. As Commissioner, he

exercises, delegates, or supervises all the powers and duties of the Department,



                                        4
     Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 5 of 13




which is charged under Florida law with administering Florida’s criminal laws

governing the purchase and sale of firearms. His official address is 2331 Phillips

Road, Tallahassee, FL 32308. He is being sued in his official capacity.

                         FACTUAL ALLEGATIONS

                    Florida’s Ban on Purchasing Firearms

      11.   On March 9, 2018, Florida Governor Rick Scott signed into law

Senate Bill 7026.

      12.   Senate Bill 7026 was enacted in the wake of a tragic school shooting

at Marjory Stoneman Douglas High School in Parkland, Florida, which was

believed to have been perpetrated by a 19-year-old, male former student of the

school.

      13.   Senate Bill 7026, among other provisions, amends FLA. STAT. §

790.065 to add a new Subsection (13), which provides as follows:

      A person younger than 21 years of age may not purchase a firearm.
      The sale or transfer of a firearm to a person younger than 21 years of
      age may not be made or facilitated by a licensed importer, licensed
      manufacturer, or licensed dealer. A person who violates this
      subsection commits a felony of the third degree, punishable as
      provided in s. 775.082, s. 775.083, or s. 775.084. The prohibitions of
      this subsection do not apply to the purchase of a rifle or shotgun by a
      law enforcement officer or correctional officer, . . . or a
      servicemember . . . .




                                         5
      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 6 of 13




      14.    An individual who purchases any firearm in violation of this ban is

subject to imprisonment for up to 5 years, a fine of up to $5,000, or both. FLA.

STAT. §§ 775.082, 775.083.

      15.    Florida law independently limits access to firearms for individuals

who are considered unsafe, mentally unstable, or otherwise incapable of safely

operating a firearm. For instance, a firearm generally may not be purchased or

possessed, under Florida law, by (1) any individual who has ever been convicted of

a felony, id. § 790.023(1)(a); (2) anyone who is subject to an injunction against

committing acts of domestic violence, id. § 790.233; (3) minors under the age of

18, id. § 790.22(3); or (4) individuals who have been adjudicated mentally

defective or are committed to a mental institution, id. § 790.065(2)(a)(4).

      16.    Independent provisions of federal law also already significantly

constrain the right of adult citizens under the age of 21 to purchase firearms. Under

18 U.S.C. § 922(b)(1), a federally licensed firearm dealer may not sell to any

individual under the age of 21 any handgun—the “quintessential self-defense

weapon” which is “the most popular weapon chosen by Americans for self-defense

in the home.” Heller, 554 U.S. at 629. Florida’s new ban broadens these

preexisting limits, by (1) extending the ban to rifles and shotguns, in addition to

handguns, and (2) prohibiting these law-abiding, adult citizens from purchasing

these firearms from any source, not just federally licensed dealers (i.e., those who



                                          6
      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 7 of 13




are “engaged in the business of selling firearms at wholesale or retail.” 18 U.S.C. §

921(a)(11)).

      17.      The effect of Florida’s age-based ban is to impose a significant,

unequal, and impermissible burden on the right to keep and bear arms of a class of

millions of law-abiding 18-to-20 year-old adult citizens.

                     The Impact of the Ban on Plaintiff

      18.      The NRA has approximately 5 million members, many thousands of

which reside in Florida.

      19.      The NRA’s members include law-abiding adult citizens between the

age of 18 and 21 who reside in Florida and who desire to purchase handguns, long-

guns, or both for self-defense and other lawful purposes.

      20.      These members are both male and female, and, apart from their age,

they meet all other state or federal requirements for purchasing or possessing

firearms. These members are not law-enforcement or correctional officers or

servicemembers, within the meaning of FLA. STAT. § 790.065(13), and they are

therefore not exempt from Florida’s ban.

      21.      But for Section 790.065(13)’s ban, some of these members would

purchase handguns, rifles, or shotguns for lawful purposes. But for Section

790.065(13)’s ban, some of these members would purchase handguns from a




                                           7
      Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 8 of 13




lawful source other than a federally licensed firearm dealer, such as a private seller

or a family member.

      22.     Section 790.065(12)’s ban on firearm sales to adults within this age

bracket therefore infringes on the Second Amendment rights of these NRA

members. The NRA brings this action on behalf of these members.

                                     COUNT 1

              42 U.S.C. § 1983 Action for Violation of
         U.S. C ONST . amends. II and XIV—Facial Challenge

      23.     Plaintiff incorporates by reference the allegations of the preceding

paragraphs.

      24.     The Second Amendment’s guarantee of “the right of the people to

keep and bear Arms” secures to law-abiding, responsible, adult citizens the

fundamental constitutional right to purchase and acquire firearms for the purpose

of self-defense in the home. U.S. CONST. amend. II.

      25.     This Second Amendment right applies against the State of Florida

under U.S. CONST. amend. XIV.

      26.     FLA. STAT. § 790.065(13) bans law-abiding, responsible, adult citizens

between the ages of 18 and 21 from purchasing any firearm from any source.

      27.     This ban infringes upon, and imposes an impermissible burden upon,

the Second Amendment rights of the NRA Members described above, and it is

therefore facially unconstitutional, void, and invalid.

                                           8
     Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 9 of 13




                                    COUNT 2

              42 U.S.C. § 1983 Action for Violation of
      U.S. C ONST . amends. II and XIV—As-Applied Challenge

      28.     Plaintiff incorporates by reference the allegations of the preceding

paragraphs.

      29.     The Second Amendment’s guarantee of “the right of the people to

keep and bear Arms” secures to law-abiding, responsible, adult citizens the

fundamental constitutional right to purchase and acquire firearms for the purpose

of self-defense in the home. U.S. CONST. amend. II.

      30.     This Second Amendment right applies against the State of Florida

under U.S. CONST. amend. XIV.

      31.     FLA. STAT. § 790.065(13) bans law-abiding, responsible, adult citizens

between the ages of 18 and 21 from purchasing any firearm from any source.

      32.     This ban particularly infringes upon, and imposes an impermissible

burden upon, the Second Amendment rights of those NRA Members described

above who are female. Females between the ages of 18 and 21 pose a relatively

slight risk of perpetrating a school shooting such as the one that occurred at

Marjory Stoneman Douglas High School, or, for that matter, a violent crime of any

kind. For example, in 2015, women in this age group accounted for only 1.8% of

arrests for violent crime, while males in the same age bracket accounted for 8.7%

of such arrests—and males between the ages of 21 and 24, who may lawfully

                                          9
       Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 10 of 13




purchase firearms under current law, accounted for 9.2%. See Federal Bureau of

Investigation, Crime in the United States: 2015 tbls. 39 and 40, available at

https://goo.gl/8pVWnb; see also BUREAU           OF   JUSTICE STATISTICS, WOMEN

OFFENDERS at 2, 13 (2009) (female offenders responsible for only 14% of violent

crimes, and only 10% of female offenders aged 18-20), available at

https://goo.gl/3qAJXu. Regardless of its facial validity, Florida’s ban is therefore

unconstitutional, void, and invalid as applied to women between the ages of 18 and

21.

                                     COUNT 3

            42 U.S.C. § 1983 Action for Violation of Equal
      Protection under U.S. C ONST . amend. XIV—Facial Challenge

        33.   Plaintiff incorporates by reference the allegations of the preceding

paragraphs.

        34.   The Fourteenth Amendment guarantees to all citizens the right to

equal protection of the laws.

        35.   FLA. STAT. § 790.065(13) bans law-abiding adults between the ages of

18 and 21 from purchasing firearms, but does not ban the purchase of the same

firearms by law-abiding adults aged 21 and over.

        36.   This ban violates the equal protection rights of those NRA Members

described above, and it is therefore facially unconstitutional, void, and invalid.

                                     COUNT 4

                                          10
     Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 11 of 13




         42 U.S.C. § 1983 Action for Violation of Equal
Protection under U.S. C ONST . amend. XIV—As-Applied Challenge
      37.     Plaintiff incorporates by reference the allegations of the preceding

paragraphs.

      38.     The Fourteenth Amendment guarantees to all citizens the right to

equal protection of the laws.

      39.     The individual right to keep and bear arms is fundamental, and

discriminatory governmental classifications restricting the exercise of fundamental

rights must be subjected to heightened judicial scrutiny.

      40.     FLA. STAT. § 790.065(13) bans law-abiding adults between the ages of

18 and 21 from purchasing firearms, but does not ban the purchase of the same

firearms by law-abiding adults aged 21 and over.

      41.     This ban violates the equal protection rights of those NRA Members

described above who are female. Females between the ages of 18 and 21 pose a

relatively slight risk of perpetrating a school shooting such as the one that occurred

at Marjory Stoneman Douglas High School, or, for that matter, a violent crime of

any kind. For example, in 2015, women in this age group accounted for only 1.8%

of arrests for violent crime, while males in the same age bracket accounted for

8.7% of such arrests—and males between the ages of 21 and 24, who may lawfully

purchase firearms under current law, accounted for 9.2%. See Federal Bureau of

Investigation, Crime in the United States: 2015 tbls. 39 and 40, available at


                                         11
     Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 12 of 13




https://goo.gl/8pVWnb; see also BUREAU         OF   JUSTICE STATISTICS, WOMEN

OFFENDERS at 2, 13 (2009) (female offenders responsible for only 14% of violent

crimes, and only 10% of female offenders aged 18-20), available at

https://goo.gl/3qAJXu. Regardless of its facial validity, Florida’s ban is therefore

unconstitutional, void, and invalid as applied to women between the ages of 18 and

21 because it restricts their fundamental right to keep and bear arms without any

compelling justification.

                            PRAYER FOR RELIEF

      42.    WHEREFORE, Plaintiff prays for an order and judgment:

             a.     Declaring that FLA. STAT. § 790.065(13) violates the Second

      and Fourteenth Amendments and is thus devoid of any legal force or effect;

             b.     Enjoining Defendants and their employees and agents from

      enforcing FLA. STAT. § 790.065(13);

             c.     Enjoining Defendants and their employees and agents from

      applying FLA. STAT. § 790.065(13) so as to prohibit NRA Members between

      the ages of 18 and 21 from purchasing firearms;

             d.     Awarding Plaintiff its reasonable costs, including attorneys’

      fees, incurred in bringing this action, pursuant to 42 U.S.C. § 1988; and

             e.     Granting such other and further relief as this Court deems just

      and proper.



                                        12
Case 4:18-cv-00137-MW-MAF Document 1 Filed 03/09/18 Page 13 of 13




Dated: March 9, 2018                      Respectfully submitted,


David H. Thompson*                        s/ Kenneth Sukhia
John D. Ohlendorf*                        Kenneth Sukhia, Bar No. 266256
Davis Cooper*                             s/Vincent Locurto Bar No 0041040
COOPER & KIRK, PLLC                       SUKHIA & WILLIAMS LAW GROUP, PLLC
1523 New Hampshire Avenue,                902 N. Gadsden Street
N.W.                                      Tallahassee, Florida 32303
Washington, D.C. 20036                    (850) 383-9111
(202) 220-9600                            ksukhia@sukhiawilliamslaw.com
(202) 220-9601 (fax)
dthompson@cooperkirk.com

  *Pro hac vice application
  forthcoming

                              Attorneys for Plaintiff




                                     13
